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 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                    Case No. 2:10-CR-00280-KJD-GWF

12   v.                                                   AMENDED ORDER

13   MICHAEL ALLEN PERRY,

14          Defendant.

15

16          Presently before the Court is Defendant’s Motion to Terminate Supervised Release (#254).

17   On October 4, 2016, the Court ordered the Government to respond to Defendant’s motion and

18   warned the Government that failure to respond would be considered consent to the granting of the

19   motion. Though the time for doing so has passed, the Government has not opposed Defendant’s

20   motion.

21          A district court enjoys “broad discretion” when, after it takes into account the statutorily

22   required factors, it discharges a defendant’s supervised release. United States v. Jeanes, 150 F.3d

23   483, 484 (5th Cir. 1998). The defendant, however, bears the burden of demonstrating that early

24   termination of his supervised release is justified. See United States v. Weber, 451 F.3d 552, 559 n. 9

25   (9th Cir. 2006). Title 18 U.S.C. § 3583(e) states:

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 1                  (e) Modification of conditions or revocation. The court may, after considering the
                    factors set forth in section 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5),
 2                  (a)(6), and (a)(7)

 3                  (1) terminate a term of supervised release and discharge the defendant released at any
                    time after the expiration of one year of supervised release, pursuant to the provisions
 4                  of the Federal Rules of Criminal Procedure relating to the modification of probation,
                    if it is satisfied that such action is warranted by the conduct of the defendant released
 5                  and the interests of justice[.]

 6          The Court has considered the following factors under 18 U.S.C. §§ 3553(a): (1) the nature

 7   and circumstances of the offense and the history and characteristics of the defendant; (2) deterrence;

 8   (3) protection of the public; (4) the need to provide the defendant with educational, vocational

 9   training, medical care or other rehabilitation; (5) the sentence and sentencing range established for

10   the category of defendant; (6) any pertinent policy statement by the Sentencing Commission; (7) the

11   need to avoid unwarranted sentence disparities among defendants with similar records who have

12   been found guilty of similar conduct; and (8) the need to provide restitution to any victims of the

13   offense. See 18 U.S.C. §§ 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7).

14          Here, Defendant has met his burden in demonstrating that early termination of supervised

15   release is justified. On September 17, 2012, Defendant was adjudicated guilty of conspiracy to

16   commit wire fraud. He was sentenced to 15 months imprisonment followed by five years of

17   supervised release. He has served his term of confinement and thirty-four (34) months of supervised

18   release. Defendant has not violated the conditions of his supervised release. He has maintained

19   stable employment and residence. The only objection raised by probation is that Defendant still owes

20   restitution. However, means exists to ensure that Defendant continues to pay restitution.

21           Therefore, having considered the statutory factors, the Court finds that in the interest of

22   justice and being warranted by the conduct of Defendant, that his term of supervised release is hereby

23   terminated immediately.

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 1         Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion for Early Termination of

 2   Supervised Release (#254) is GRANTED.

 3         DATED this 27th day of December 2016.

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                                             Kent J. Dawson
 8                                           United States District Judge

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